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10                        UNITED STATES DISTRICT COURT
11                     SOUTHERN DISTRICT OF CALIFORNIA
12
       UNITED STATES OF AMERICA,                       Case No. 16-cr-2698-BAS-2
13
                                    Plaintiff,         JUDGMENT AND ORDER
14                                                     GRANTING GOVERNMENT’S
                                                       MOTION TO DISMISS
15           v.                                        INDICTMENT
16     MICHAEL DAMIAN-ANTHONY                          [ECF No. 44]
       TREVINO,
17
                                  Defendant.
18

19

20         Presently before the Court is the United States of America’s motion to dismiss
21   the information as to Defendant Michael Damian-Anthony Trevino only. The
22   Government indicates that its “further investigation” suggests that Mr. Trevino’s co-
23   defendant “was primarily, and possibly solely responsible, for the crime alleged in
24   the information[.]” (Gov’t’s Mot. 1:19-23.)
25         Having provided an adequate reason and factual basis justifying dismissal, the
26   Court GRANTS the Government’s motion and DISMISSES WITHOUT
27   PREJUDICE the indictment against Michael Damian-Anthony Trevino. See Fed. R.
28   Crim. P. 48(a); United States v. Olmos-Gonzales, 993 F. Supp. 2d 1234, 1235 (S.D.

                                                 –1–                                16cr2698
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 1   Cal. 2014) (Moskowitz, C.J.).
 2         IT IS SO ORDERED.
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 4   DATED: January 31, 2017
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